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 3                                UNITED STATES DISTRICT COURT
 4                              EASTERN DISTRICT OF CALIFORNIA
 5

 6   UNITED STATES OF AMERICA,                            CASE NO. 1:12-CR-442 AWI BAM
 7                          Plaintiff                     PRETRIAL ORDER
 8                  v.                                    Trial Confirmation, Jury Instruction
                                                          Hearing, and Motions In Limine Hearing:
 9   RAMON FRANCO-POLANCO, and                            Date: JANUARY 12, 2015
     RAFAEL ONTIVEROS-CALDERON,                           Time: 10:00 a.m., Courtroom 2
10
                            Defendants                    Trial:
11                                                        Date: JANUARY 27, 2015
                                                          Time: 8:30 a.m., Courtroom 2
12
                                                          RULES OF CONDUCT
13

14          On April 14, 2014, the Court set trial in this matter for January 27, 2015. Counsel shall be
15   present at 8:30 a.m. to resolve any remaining matters.
16   I. Motions In Limine Hearing and Briefing Schedule
17          The hearing to consider motions in limine will be held on January 12, 2015, at 10:00 a.m.
18   in Courtroom Two. In addition to addressing any filed motions in limine, at that time the court
19   will conduct a trial confirmation hearing and, to the extent possible, address any other outstanding
20   matters pertaining to the conduct of the trial, including a preliminary jury instruction conference.
21          By 4:00 p.m. on December 1, 2014, all motions in limine, with supporting points and
22   authorities, shall be filed and served. The court will deem any motion in limine filed by one
23   defendant to be joined by other defendants, eliminating the need for a co-defendant to file a formal
24   request to join unless that co-defendant has additional argument or evidence to offer.
25          By 4:00 p.m. on December 15, 2014 opposition to any motion in limine shall be filed and
26   served. If a party does not oppose a motion in limine, that party shall file and serve in the same
27   manner a Statement of Non-Opposition to that motion in limine.
28          By 4:00 p.m. on December 29, 2014 replies to any opposition shall be filed and served.
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 1   II. Witness List
 2           The United States shall file and serve its witness list by 4:00 p.m. on Thursday, January 22,
 3   2015.
 4   III. Trial Briefs
 5           All parties are directed to file and serve a trial brief by 4:00 p.m. on December 29, 2014.
 6   Co-Defendants may file one joint trial brief if desired.
 7           The parties need not include in a trial brief any issue that is adequately addressed in a
 8   motion in limine, or in an opposition brief to a motion in limine. Also, the court does not require
 9   in a trial brief the advance disclosure of a party’s trial strategy or any information protected from
10   advance disclosure by constitutional, statutory or case authority.
11   IV. Proposed Jury Instructions
12           The parties shall file and serve proposed jury instructions by 4:00 p.m. on January 6, 2015,
13   along with a copy of the instructions on a CD-ROM disc, preferably formatted for Microsoft Word
14   2010. Alternatively, electronic filers shall attach a copy of their proposed jury instructions to an e-
15   mail, which the party shall send to awiorders@caed.uscourts.gov.
16           The printed proposed jury instructions that are submitted to the Court shall be in duplicate.
17   One set shall indicate the party proposing the instruction, with each instruction numbered or
18   lettered, shall cite supporting authority, and shall include the customary “Given, Given as
19   Modified, or Refused,” showing the Court’s action with regard to each instruction. The other set
20   shall be an exact copy of the first set, but shall be a “clean” copy that does not contain the
21   identification of the offering party, instruction number or letter, supporting authority, or reference
22   to the Court’s disposition of the proposed instruction.
23           The parties are ordered to confer before the jury instruction hearing and trial confirmation
24   hearing date on January 12, 2015, to determine which instructions they agree should be given. At
25   the jury instruction hearing, the parties shall submit a list of joint, unopposed instructions. As to
26   those instructions to which the parties dispute, the Court will conduct its preliminary jury
27   instruction conference on January 12, 2015 and a further jury instruction conference on January
28   27, 2015 -- the first day of trial.

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 1   V. Exhibits
 2          The United States shall lodge with the Courtroom Deputy two sets of its exhibit binder,
 3   plus the original and two copies of its exhibit list, by 4:00 p.m. on Thursday, January 22, 2015.
 4   The United States shall also serve copies of its exhibit binder and exhibit list upon defendant by
 5   4:00 p.m. on Thursday, January 22, 2015.
 6          The parties are ordered to confer after the trial confirmation hearing for the purpose of pre-
 7   marking exhibits. All joint exhibits must be pre-marked with numbers preceded by the
 8   designation JT/-- (e.g., JT/1, JT/2). The United States’ exhibits shall be pre-marked with numbers.
 9   Defense exhibits are to be pre-marked with letters.1
10          1. Counsel are to confer and make the following determination with respect to each
11   proposed exhibit to be introduced into evidence, and to prepare separate indexes - one listing joint
12   exhibits, and one listing each party’s separate exhibits:
13                  a. Duplicate exhibits, i.e., documents that all parties desire to introduce into
14   evidence, shall be marked as a joint exhibit, and numbered as directed above. Joint exhibits shall
15   be listed on a separate index, and shall be admitted into evidence on the motion of any party,
16   without further foundation.
17                  b. As to exhibits that are not jointly offered, and to which there is no objection to
18   introduction, those exhibits will likewise be appropriately marked, e.g., Plaintiff’s Exhibit 1 or
19   Defendant’s Exhibit A, and shall be listed in the offering party’s index in a column entitled
20   “Admitted In Evidence.” Such exhibits will be admitted upon introduction and motion of the
21   party, without further foundation.
22                  c. Those exhibits to which the only objection is a lack of foundation shall be
23   marked appropriately, e.g., Plaintiff’s Exhibit 2 - For Identification, or Defendant’s Exhibit B -
24   For Identification, and indexed in a column entitled “Objection Foundation.”
25                  d. Remaining exhibits as to which there are objections to admissibility not solely
26   based on a lack of foundation shall likewise be marked appropriately, e.g., Plaintiff’s Exhibit 3 -
27   1
      To the extent that defendants are able to disclose exhibits in advance of trial, such exhibits shall
28   be subject to the joint determination procedure set forth in this portion of the Pretrial Order.


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 1   For Identification or Defendant’s Exhibit C - For Identification, and indexed in a third column
 2   entitled “Other Objection” on the offering party’s index.
 3             2. Each separate index shall consist of the exhibit number or letter, a brief description of
 4   the exhibit, and the three columns outlined above, as demonstrated in the example below:
 5                                       INDEX OF EXHIBITS
 6

 7                                       ADMITTED           OBJECTION            OTHER
 8   EXHIBIT # DESCRIPTION               IN EVIDENCE FOUNDATION                  OBJECTION
 9

10          The court has no objection to counsel using copies. However, the copies must be legible.
11   If any document is offered into evidence that is partially illegible, the court may sua sponte
12   exclude it from evidence.
13   VI. Voir Dire
14          The parties shall file and serve proposed voir dire questions, if any, by 4:00 p.m. on
15   Thursday, January 22, 2015. Co-Defendants may file joint proposed voir dire questions.
16          Further, in order to aid the court in the proper voir dire examination of the prospective
17   jurors, counsel should lodge with the court on the first morning of trial a list of all prospective
18   witnesses, including rebuttal witnesses, that counsel reasonably expect to call. The purpose of the
19   lists is to advise the prospective jurors of possible witnesses to determine if a prospective juror is
20   familiar with any potential witness.
21   VII. Use Of Videotapes, CDs, Computers, and Other Audio/Visual Equipment
22          Any party wishing to use a videotape or CD for any purpose during trial shall lodge a copy
23   with the Courtroom Deputy by 4:00 p.m. on Thursday, January 22, 2015. If a written transcript of
24   audible words is available, the Court requests that the transcript be lodged with the Court, solely
25   for the aid of the Court.
26          If counsel intends to use a laptop computer for presentation of evidence, they shall contact
27   the Courtroom Deputy at least one week prior to trial. The Courtroom Deputy will then arrange a
28   time for counsel to bring the laptop to the courtroom, and meet with a representative of the

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 1   Information and Technology Department and receive a brief training session on how counsel’s
 2   equipment interacts with the Court’s audio/visual equipment. If counsel intends to use
 3   PowerPoint, the resolution should be set no higher than 1024 x 768 when preparing the
 4   presentation.
 5   VIII. Agreed Summary Of The Case
 6          The parties shall lodge with the Courtroom Clerk a joint agreed summary of the case,
 7   briefly outlining the positions of the parties by 4:00 p.m. on Thursday, January 22, 2015. The
 8   summary will be read to the jury panel at the outset of the trial solely for the purposes of assisting
 9   in the jury selection process. The contents of the summary shall not be deemed to be evidence or
10   an admission or stipulation by a party as to any contested fact or issue.
11   IX. Morning Conferences During Trial
12          During the trial, it is the obligation of counsel to meet with the court each morning to
13   advise the court and opposing counsel as to what documents are proposed to be put into evidence
14   that have not previously been admitted by stipulation, court order, or otherwise ruled upon. The
15   court will rule on those documents, to the extent possible, prior to the commencement of trial each
16   day out of the presence of the jury. If the ruling depends upon the receipt of testimony, the court
17   will rule as requested upon the receipt of such testimony.
18          The court shall consider any other legal matter at morning conferences as well. The court
19   does not wish to recess the trial to hear legal argument outside of the presence of the jury, and
20   proper preparation by counsel will eliminate the need for that result.
21   X. Objections To Pretrial Order
22          As to any deadline in this Order that occurs after the date of the trial confirmation hearing,
23   any party may ask for reconsideration and/or the court may sua sponte revise that date at the trial
24   confirmation hearing. Other than such dates, any party who objects to any aspect of this Pretrial
25   Order may, within ten (10) calendar days after the date of service of this order, file and serve
26   written objections to such provisions of this order. Any such objection shall specify a requested
27   correction, addition or deletion.
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 1   XI. Rules of Conduct During Trial
 2           A. General Rules
 3           1.      All participants in the trial shall conduct themselves in a civil manner. There shall
 4   be no hostile interchanges between any of the participants.
 5           2.      All oral presentations shall be made from the podium, unless otherwise permitted
 6   by the court.
 7           3.      Sidebar conferences are discouraged. Legal arguments or discussion of issues
 8   outside the presence of the jury should be done during recesses.
 9           4.      Counsel shall advise their respective clients and witnesses not to discuss any aspect
10   of the case in the common areas of the courthouse accessible to the jurors, such as the lobby, the
11   elevators, the hallways and the cafeteria.
12           B. Jury Selection
13           1.      The court will conduct voir dire to be supplemented by any written questions
14   submitted by counsel prior to trial and after the court has concluded its questioning of the jury
15   panel. In some circumstances, the court may allow brief direct questioning by counsel.
16           C. Opening Statements
17           1.      Counsel may use visual aids in presenting the opening statement. However, any
18   proposed visual aids shall be shown to opposing counsel before opening statement.
19           D. Case in Chief
20           1.      Counsel shall have his/her witnesses readily available to testify so that there are no
21   delays in the presentation of evidence to the trier of fact.
22           2.      At the close of each trial day, counsel shall disclose his/her anticipated witnesses
23   and order of presentation for the next day, so that any scheduling or evidentiary issues may be
24   raised at that time.
25           E. Witnesses
26           1.      Before approaching a witness, counsel shall secure leave of court to approach the
27   witness.
28           2.      Before approaching a witness with a writing, counsel shall first show the writing to

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 1   opposing counsel.
 2           F. Exhibits
 3           1.      All exhibits shall be marked and identified in accordance with the instructions in
 4   the Pretrial Order.
 5           2.      An exhibit shall not be published to the jury until it has been admitted into evidence
 6   and counsel has secured leave of court to publish the exhibit.
 7           3.      The court usually will conduct an on the record review of the exhibits that have
 8   been admitted in evidence at the conclusion of each party’s case in chief and after each party has
 9   rested its entire case.
10           G. Objections
11           1.      No speaking objections or arguments are permitted in the presence of the jury.
12   Counsel shall state the specific legal ground(s) for the objection, and the court will rule based
13   upon the ground(s) stated. The court will permit counsel to argue the matter at the next recess.
14           2.      The court will not assume that any objection made also implies with it a motion to
15   strike an answer that has been given. Therefore, counsel who has made an objection, and who also
16   wishes to have an answer stricken, shall also specifically move to strike the answer.
17           H. Closing Argument
18           1.      Counsel may use visual aids in presenting the closing argument. However, any
19   proposed visual aids shall be shown to opposing counsel before closing argument.
20

21   FAILURE TO COMPLY WITH ALL PROVISIONS OF THIS ORDER MAY BE GROUNDS
22   FOR THE IMPOSITION OF SANCTIONS ON ANY AND ALL COUNSEL AS WELL AS ON
23   ANY PARTY WHO CAUSES NON-COMPLIANCE WITH THIS ORDER.
24
     IT IS SO ORDERED.
25

26   Dated: April 15, 2014
                                                  SENIOR DISTRICT JUDGE
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